   21-50373-cag Doc#126-1 Filed 03/09/22 Entered 03/09/22 11:52:08 Ntc Fil Transcript BK
                                    int ptys Pg 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas

                                                                                 Bankruptcy Case
                                                                                                 21−50373−cag
                                                                                            No.:
                                                                                    Chapter No.: 11
                                                                                          Judge: Craig A Gargotta
IN RE: Alamo Strategic Manufacturing, Inc. ,
Debtor(s)


                      NOTICE OF FILING OF TRANSCRIPT
          AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION
       A transcript of the proceeding held on 8/16/2021 was filed on 3/9/2022. The following deadlines apply:

      The parties have until March 16, 2022 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a request for redaction is March 30, 2022.

      If a request for redaction is filed, the redacted transcript is due April 11, 2022.

       If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of
the restriction period, which is June 7, 2022 unless extended by court order.

      To review the transcript for redaction purposes, you may purchase a copy from the transcriber Dipti Patel,
Federal Court Reporters of San Antonio, Inc., (210) 340−6464, or you may view the document at the clerk's office
public terminal.




Dated: 3/10/22
                                                                       Barry D. Knight
                                                                       Clerk, U. S. Bankruptcy Court
                                                                       BY: Emilio Luna
                                                    [Notice of Filing of Transcript and of Deadlines Related to Restriction and Redaction (BK)] [NtcftddlrrBKap] ]
